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              EXHIBIT 9
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Direct Messages between Katie Marcotte and Mark Schobinger on 2022-11-30

                                                                           MS

mschobinger (Mark Schobinger)
           12:21 AM
2022-11-30 12:21

Here is aahigh level estimate of FY22 PBP assuming target with 50% funding level (per plan design). The net is                                    which is
on the high side. IImade the following assumptions for simplicity:
••employee roster as of Nov
                        Nov 28, 2022 but eliminated any employee who wasn't tagged as "Active" or "Holding Pen" from the Nov
 19 Prism
19  Prism workbook (note we have hired 118
                                       118 employees since Oct 28 that are not in the Prism workbook; IImade an assumption

they will all be retained and they included in this PBP estimate)
••IIam using the employee's annualized salary as of Nov 28, 2022 to calculate their target pbp - this is for simplicity in this model
                                                                                                                -




only because
only because as
             as you
                you know,
                    know, we
                          we would
                             would prorate
                                   prorate their actual earnings and bonus target % to arrive at the real number (so this
estimate is overstating a
estimate                abit)

                                                           11282022.xlsx
FY22 Annualized PBP at Target with 50% Funding Level as of 11282022.xlsx
XLSX - 290 KB
      -




https://twitter.enterprise.slack.com/files/WEJGEG3KLiF04CL2AQCTH/N22_annualized_pbp_at_target_   h_50   funding_level_as_of_11282022.xlsx




ksnodgrass (Katie Marcotte) reacted with: ack2



                                                                           MS
mschobinger (Mark Schobinger)
           12:26 AM
2022-11-30 12:26

The logical outcome suggests we would not pay out FY22 bonuses due to the current environment and the severe
underperformance to plan. So you know, that is what IIrecommended previously (when
                                                                             (when we were still public) - the plan permitted    -




the cmte to exercise that discretion. But TWTR being TWTR,
                                                        TWTR, we held to the 50% funding level for all the reasons you can
imagine. Anyway,
         Anyway, Elon is the sole  director at this point and it really comes down to him and only him to make the final decision
(even if
(even if he
         he says
            says "work
                 "work with Jared" - we would still need Elon to provide the approval on whatever we recommend).
                                         -




                                                                           MS
mschobinger (Mark Schobinger)
           12:27 AM
2022-11-30 12:27

I'm about to drop off to go to dinner. Married 36 years today... so going to spend time with the real boss. :slightly_sm
I'm                                                                                                          slightly_smiling_face:
                                                                                                                         ling_face:
         1
replies: 1

                                                                                                                       1 EXHIBIT       II '
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                                                                                                                          DATE: S'Z'Zii
                                                                                                                          DATE:
                                                                                                                          SHARON       CSR, CRR,
                                                                                                                                 ROSS, CSR, CAR, RMR
                                                                                                                                                       4

                 CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER
                                                                                                        X-SCHOBINGER_000000083
